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           Exhibit A
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                                                               1. Filed on behalf of the
                                                                           Respondent
                                                          2. Name: David McGillicuddy
                                                                    3. Statement - Two
                                                                              4. Dated:
                                                                            06/12/2023

                               FOREIGN PROCESS REFERENCE QF 2021 007252


IN THE HIGH COURT OF JUSTICE
QUEENS BENCH DIVISION


IN THE MATTER OF THE EVIDENCE (PROCEEDINGS IN OTHER
JURISDICTIONS) ACT 1975




B E T W E E N:


                                  ASHTON ET AL

  Survivors and estate representatives of the victims of the September 11 th Attacks

                                                                             Plaintiffs


                                        -and-



                           (1) KINGDOM Of SAUDI ARABIA
                               (2) DALLAH AVCO ET AL

                                                                          Defendants

                                        and



                        THE COMMISSIONER OF POLICE

                              OF THE METROPOLIS

                                                                         Respondent
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               ________________________________________

                            Witness Statement of
                              David McGillicuddy
              _________________________________________



1. I am a Detective Superintendent in the Metropolitan Police Service (MPS).


2. This statement is provided further to my statement dated 01/03/2022, in which I
   explained to the Court, and the Applicant claimants, the approach, allocated
   resources and methodology used by the MPS in relation to the ‘Request’ dated
   12/07/2021 for the MPS to disclose copies of “evidential holdings (historical)” in
   connection with Omar Al-Bayoumi.

3. Further to my earlier statement, the MPS has identified additional material
   responsive to that Request and therefore this statement explains the approach,
   allocated resources and methodology used by the MPS to disclose these
   additional items.


   Phase 4 – Additional Material Identified


4. Following the submission of material conducted in March 2022, the MPS identified
   a number of VHS tapes in the Exhibits Store for the Forensic Management Team,
   a department of SO15 - Counter Terrorism Command.


5. A total of 55 tapes were identified and have been analysed by the review team,
   who have identified that the tapes are relevant in various ways to the original
   request for material relating to Omar Al-Bayoumi.

6. In addition to the VHS tapes detailed at para 4 & 5 above, further documents were
   identified, in the form of 33 sets of telephone records. These documents were
   reviewed, which has identified that these telephone records were also relevant to
   Omar Al-Bayoumi from his telephone usage in the UK.
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   7. These VHS tapes and other responsive documents have been scheduled. This
       schedule has been provided to the Applicants and is appended to the agreed
       Consent Order.

       Reclassification

   8. As I stated at para 4 of my Statement dated 01/03/2022, when the Operation
       Exchange material was originally archived, it was, collectively, marked “secret”.


   9. With the appropriate authority to do so, I have, as part of the review, authorised
       the material to be disclosed to the Applicants and it is no longer classified.

       Public Interest Immunity (PII)

   10. I can confirm there is no claim made by the MPS for PII in relation either to any
       redacted part of the documents that are listed on the schedule (the Applicants’
       have agreed for this material to be redacted), nor to any other document that
       might be in our possession that is not on the schedule.


       Conclusion

   11. As the senior officer in charge of this process, I am content that the MPS has
       worked diligently and expeditiously to identify all material in possession of the
       MPS that falls to be disclosed pursuant to the Request.


                                  Statement of Truth


I believe that the facts stated in this witness statement are true. I understand that

proceedings for contempt of court may be brought against anyone who makes, or causes

to be made, a false statement in a document verified by a statement of truth without an

honest belief in its truth.



Signed…D.McGILLICUDDY…………………………………………. Date: 06/12/2023

Position: Detective Superintendent – SO15 Investigations
